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            U.S. DISTRICT COURT
                N.D. OF ALABAMA




EXHIBIT A
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                                                                                                EXHIBIT A

                             EXPERT REPORT OF GINA H. WRIGHT




          My name is Gina H. Wright. I have been asked to review the Declaration of William        S.

Cooper filed in this case and give my expert opinion on the redistricting plans he created.
Specifically, I was asked to comment on: 1) whether Bill Cooper's plans increase the total
number of majority African-American congressional districts for Georgia's congressional
redistricting plan;2) whether Bill Cooper's plans follow traditional redistricting principles; and
3) whether the African-American population in and around Congressional District 12 is

sufficiently numerous and geographically compact to constitute a majority of the population in
the district without reducing the African-American population in Congressional District 2 below
50%.


          I   am the Executive Director of the Legislative and Congressional Reapportionment

Office (LCRO), a joint office of the Georgia General Assembly. The LCRO is responsible for
providing redistricting services to legislators using data obtained from the United States Census
Bureau. The LCRO assists members of the General Assembly in drawing the districts ofthe
State Senate and State House of Representatives, as well as the fourteen (14) United States

Congressional districts. Through sponsorship from a legislator, the LCRO also assists local
County Commission, Boards of Education, and City Councils in adjusting their districts. Finally,
the LCRO also provides an affay of maps and data reports to both legislators and the public at

large.


          As Executive Director, I oversee and direct a staff of four (4) in providing redistricting
and other mapping services to all members of the Georgia General Assembly. These services

may include drawing maps for statewide legislative districts, local redistricting plans, city
creation boundaries, annexations and de-annexations, as well as precinct boundary changes.        All
local redistricting bills through the House Committee on Intragovernmental Coordination require
my signature following a technical review of the bill. I am the official state liaison for Georgia
for the 2020 Census Redistricting Data Program. I oversee the creation of our statewide voting
precinct mapping layer through my work with all county election officials throughout the state.         I
assist the Office of the Attorney General in candidate qualification challenges related to issues


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regarding a candidate's residency. I regularly assist federal courts as an expert or technical
advisor in redistricting matters. I participate in the Redistricting and Elections Standing
Committee of the National Conference of State Legislatures and contribute to their databases and
publications. Finally, I participate as a presenter in statewide forums such as the Voter
Registrars Association of Georgia, the Georgia Elections Officials Association, and the Georgia

Legislative CLE class.

       I began work with the LCRO in December of 2000 as a Redistricting Services Specialist.
I became Executive Director of the LCRO in June 2012. I am a2000 summa cum laude
graduate from Georgia State University. I have a Bachelor of Arts degree in Political Science

and a minor in Spanish.




       I have been appointed as an expert or technical advisor for redistricting by federal courts
in the following cases:

       .       Ga. State Conf. of the NAACP v. Fayette County Bd. of Comm'rs,996 F. Supp. 2d

1353, 1359 (N.D. Ga. 2014) (appointed     as the   Court's "independent technical advisor."); see also
Ga. State Conf, of the NAACP v. Fayette County Bd. of       Comm'rs,Il8 F. Supp. 3d 1338,          1340

(N.D. Ga. 2015) ( "Court-appointed expert or technical advisor.")

       .       Crumly v. Cobb County Bd. of Elections       &   Voter Registration, 892   F   . Supp. 2d

1333, 1344 (N.D. Ga 2012) (appointed as the "Court's technical advisor and consultant.")

       .       Martin     v. Augusta-Richmond   County,20l2 U.S. Dist. LEXIS      851 13,     *2-3 (S.D.

Ga2012) (appointed by Court as "advisor and consultant.")

       .       Walkerv. Cunninghom,2012 U.S. Dist. LEXIS 178337, *5 (S.D. Ga.2012)
(appointed by Court "as its independent technical advisor.") (3 judge panel).

       .       Birdv. Sumter County Board of Educ.,CANo. l:l2cv76-WLS (M.D. Ga.2013),
ECF 70 p. 5 (appointing Gina Wright as the Court's "independent technical advisor.")




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        .       Adamsonv. Clayton County Elections and Reg. Bd., CA No. I:l2cvl665-CAP
                                                                   o'independent
(N.D. Ga. 2012),ECF 23 p. 2 (appointing Gina Wright as the Court's               technical

advisor.")

        In the past four years I have testified, either at trial or by deposition, in

        a    NAACP v. Kemp, CA No.       l:l7cvl427 (N.D. Ga.) (3 judge court) (consolidated with
             Thompsonv. Kemp).
        o    Ga. State Conf. of the NAACP v. Fayette County Bd. Of Comm'rs.




        I am not being compensated separately for my work in this matter




        In preparing my analysis, I considered the following facts and data: The Declaration       of
William S. Cooper, the block equivalency files of his Illustrative Plans, the 2010 PL-94-l7l
Census Data and Geography files for the state     of Georgia, current and past United States
Congressional district maps for the state of Georgia maintained by my office, and my personal

knowledge of the facts regarding redistricting in Georgia.

        Based on my analysis, as discussed below, I have concluded that it is not possible to

draw an additional majority-minority district as proposed by Mr. Cooper's Illustrative Plans
without (1) making race the predominant factor in creating the district, (2) reducing the African-
American population    in   Congressional District 2 below 50%, (3)subjugating all traditional
redistricting principles used in Georgia to race, and (4) causing massive disruption in the
representation of individuals in the affected districts.




                  History of Georgia Congressional Maps and Representation

        Following the decennial Census in the year 2000, the state of Georgia gained two (2)
additional congressional districts due to significant population growth in the state. During a
special legislative session in 2001, the Georgia General Assembly, with the Democratic Party

holding majorities in both state House and Senate, adopted a map for these        l3 U.S. congressional
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districts. Democratic Governor Roy Barnes signed the legislation. The plan was granted
preclearance by the U.S. district court of the District of Columbia (Georgia v.   Ashuoft,l95
F.Supp.2d 25 (D. D.C.2002),    af'd   sub nom. Kingv. Georgia,537 U.S. 1100 (No. 02-125)
(2003).This map was used for elections in Georgia in2002 and2004.

         After precle arance, the map was referred to in the Legislative and Congressional
Reapportionment Office by the plan name "CongD2". This plan contained two majority AP (all
persons)1 black districts, District 4 (54.69%AP black, 50.02% AP black VAP) and District 5

(56.92% AP black, 52.04% AP BVAP). Both districts were in the metro Atlanta area. The third
highest percentage of AP black population and AP black VAP was in District 2 in southwest
Georgia (45.22%AP black and4l.45Yo AP black VAP). (See Exhibits           l,   1A, 18)

         In the General Election of 2004, the voters of Georgia elected a Republican majority in
both the state House and Senate. Governor Sonny Perdue, a Republican elected in2002, was the
Governor atthattime. The Georgia General Assembly under new leadership, decided to redraw
the Congressional district map. This map was adopted (HB 499) in 2005, was signed by

Governor Perdue (Act 146), and was precleared by the U.S. Department of Justice. Referred to
by plan name "Cong05" after its preclearance, this was the map for elections in2006,2008, and
2010. (See Exhibits 2,24,28)

         Like the preceding map from 2002,this new version also contained the same two
majority AP black and AP black VAP districts 4 and 5 in metro Atlanta. District 4 had a 54.19%
AP black total and a 50.3l% AP BVAP. District 5 had a 56.85% AP black total and a 52.05%
AP BVAP. As before, the third highest percentage of AP black population was in District 2 in
southwest Georgia (48.32% AP black and 44.83%o AP       BVAP). This    map would be the

benchmark map when new Census data arrived in 2011.

         From 2002 through 2011, four of the thirteen Congressional districts in Georgia elected
African-American representatives under the maps mentioned above. These districts are 2, 4, 5,
and 13. District 5 elected Congressman John Lewis in 1986 and he continues to represent the
seat   today. District 4 has elected three African Americans since 1996- Congresswoman Cynthia
1
  The AP (all persons) category includes persons self-identifying themselves as belonging to
more than one race. For example, a person that self-identified as both white and black would be
included both in the number of persons "AP Black" andthose "AP White."

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McKinney, Congresswoman Denise Majette, and Congressman Hank Johnson, who presently
represents this district. District 2 elected Congressman Sanford Bishop    in   1992 and he continues

to represent this district. District 13, added after the 2000 Census, elected Congressman David
Scott in 2002. This district elected an African-American representative although the district was
not majority AP black in population at that time. Congressman Scott has been reelected to serve
this district in every election since 2002, including the most recent in 2018.




                                    2010 Census Information

        The 2010 Census showed that as of    April 1,2010, Georgia had9,687,653       people, which

resulted in Georgia gaining a fourteenth congressional district. Dividing this population into 14
districts yields an ideal district size of 691,975. The population of the state as a whole is3l.53Yo
AP black population (those identiffing as single race black population make up 30.46%). Of
Georgia's 159 counties, 20 counties had an overall population of majority AP black population
(over 50%).   All of these counties except two (Clayton   and DeKalb) are located outside of the

metro Atlanta area.

        On the benchmark plan "Cong05", 10      ofthe   18 majority AP black counties, outside   of
metro Atlanta, were located within the Congressional District    2. Additionally, six of the next
seven counties with the highest concentration of AP black population are also located in District

2.   These 16 counties are compact, contiguous to one another, and within the same region of the
state. They also make up most of current State Senate districts 12 and 15. This is shown on the
attached map Exhibit 3.


        On the current map "Congressl2", 17 of the 28 counties with the highest percentage AP

black population are completely or primarily within Congressional District       2. (72.42% ofthe
population of Bibb County is in District2 and76.62% ofthe population of Muscogee County is
in District 2). This is shown on the attached map Exhibit 4.




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                                201.0   Benchmark Congressional Map

        The Legislative and Congressional Reapportionment Office received the 2010 Census
data for Georgia in early 201   l. This data was applied to the benchmark 2005 Congressional
district map. (See Exhibit 2C) The statewide existing plan showed two districts that had higher
than 50Yo AP black total population and AP black        VAP.   These were Districts 4 (57 .5% AP

black and 55.69% AP black VAP) and 13 (58.55% AP black and             55.7o/o   AP black VAP) in metro
Atlanta. In addition, District 5 had over 50% AP black total population but less than 50% VAP.
This is an increase from the 2005 map, which had only two districts with AP black population
and AP black   VAP over 50olo. The fourth highest percentage of AP black population and AP
black VAP was in District 2 in southwest Georgia. (49.32% AP black and 46.84%o AP black
vAP)

        It is important to note however, that in reviewing the 2010 data as applied to the
benchmark map (Cong05) and setting a new ideal district size, the districts needed to be adjusted
to balance the population among districts. For instance, districts 2,4, and 5 were all under
populated while all of the remaining districts were overpopulated. Additionally, a district that

may be close to the ideal size   will have to adjust to accounl for surrounding districts that   are

significantly higher or lower in population size. The addition of a fourteenth district also
affected all districts on the plan, as they had to shift geographically to accommodate a new
district. This means that although a district may have had close to an ideal size, it may not be
able to maintain all parts of the existing district as others need to gain or lose population.




                                 Current Congressional District Map

         In a special legislative session in August of 2011, the Georgia General Assembly passed
a new   redistricting map for its Congressional districts (HB 20EX). The United States
Department of Justice precleared this map in December of 2011. This map was effective for
elections in 2012, 2074, 2016, and 20 1 8.

        As noted above, the current map contains 14 districts, due to an increase of one district
after the reapportionment of the 435 U.S. House districts following the 2010 Census. Population


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growth in Georgia was highest in the metro Atlanta area and in north Georgia so it was logical
that the new district would be in this area. The four largest counties in Georgia- Fulton,
Gwinnett, DeKalb, and Cobb counties- are located in metro Atlanta and are each larger than, or
almost the size, of a single Congressional district.

       The map in use today is labeled as plan name Congressl2.                     (,See   Exhibit 5) It contains
four districts that have over        50olo   AP Black population, Districts 4,5, and l3 in metro Atlanta
and District 2 in southwest Georgia. Districts            4,5, and l3 have over        50olo   AP Black voting age
population also. District2has an AP Black VAP of 49.460/o,but has consistently been above
50% African-American in voter registration. Despite the fact that three out of these four districts
were extremely underpopulated when reviewing the 2010 data on the benchmark map, the new
map increased the number of majority total AP black population districts to four (Districts 2, 4,
5, and 13). Three of these four districts (4, 5, and            l3) also have   a   majority AP Black VAP. All
four districts were and are majority black in voter registration.

        The LCRO obtains voter information from the Office of the Secretary of State and builds
a statewide voting precinct          layer. Numbers of registered voters match to these precincts and are
completely accurate when the precinct is whole. The computer program                         will   estimate the

numbers of registered voters proportionately when a precinct is split between two districts.

        Applying the most recent voter registration data from 20rc2 to the current plan
(Congressl2), there are four districts that have over 50oZ black voter registration as ofNovember
2016 as there were when the map was adopted in 2011.

               %oBlack Reg. Voters   2016        ToBlack Reg. Voters   2010          %18+-AP        Blk   %AP-Blk

District 4                   58.76%                      56.74%                      56.4t%                59.04%


District l3                  58.00%                      s4.29%                      53.93%                56.96%


District   5                 54.97%                      56.62%                      57.61%                60.45%


District 2                   51.22%                      50.t1%                      49.46%               52.28%



2
  My office is curently building the 2018 precinct boundary layer. Until that layer is complete,
the 2018 precinct registration numbers will not line up perfectly with precinct boundary lines.

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        The current Georgia Congressional delegation has five (5) incumbent African-American

representatives elected from the districts on the Congressl2 map. Most recently, Representative

Lucy McBath was elected on November 6,2018 to represent District 6 in north metro Atlanta.
Representative McBath is African American although the district is not a majority AP black

district. District 6 actually has one of the lowest percentages of AP black population out of all
14 districts.


                    Alternative Maps Considered by the General Assembly

        During the special session of the Georgia General Assembly in 2011, the House Minority
Leader Rep. Stacey Abrams presented an alternate Congressional map. This option (HB 60EX)

included 3 districts that had greater than   50o/o   AP Black population and greater than 50% AP
black VAP in districts 4, 5, and 13. There was an additional district on the proposal that had an
AP black total over 50Yo and an AP Black VAP at 49.37%. This was District 2 in southwest
Georgia. The map was introduced in the House and assigned to committee but no further action
was taken.


        Senator Vincent Fort also from the Democratic Party proposed a bill to change the

boundaries of the Congressional districts (SB        9EX). This version made changes in several
counties but still maintained the same number of majority AP black dishicts. The same three

districts were drawn with over 50% AP black and over          50olo   AP Black VAP- districts 4,5, and
13. This proposal did not create a fourth district that had over 50% AP black. The next highest
percentage of AP black population was drawn in District 2 which was 49.78Yo AP black and

47.I4%AP Black VAP. This bill was introduced in the Senate and assigned to committee but no
further action was taken.

        Bibb County was not included in Congressional District 12 on either of these two
proposed Democratic alternative maps.




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                                  Review of the Plaintiffs'Analysis

        I reviewed the two Illustrative Plans submitted with the Expert Report of William
Cooper. To review his plans, I obtained electronic versions of his maps that can be imported into
my redistricting software, Maptitude for Redistricting. I then analyzed the plans using Census
data and other data available to me on my state databases, such as precinct boundaries and

political data.

        As redistricting maps are based on official Census data,l do not utilize the population
estimates from the American Community Survey (ACS) or its reports of citizen data. The ACS

is a random sampling and does not provide a complete, accurate count. It has also not always

been an accurate predictor of the future Census count for some areas, including the City          of
Atlanta in 2010.

        In reviewing the report submitted by Mr. Cooper, there was much focus on his 71 county
region. When creating district maps, I do not limit analysis of     a statewide plan   to a particular
region. I also do not consider metropolitan statistical areas (MSAs) when determining where               a

district may go. To consider only a select grouping of counties or to invent arbitrary limits on
where districts exist, leaves out the full impact of how all of the districts fit together in a
statewide plan.

        Mr. Cooper selects his grouping of 71 counties and gives statistics about that area, but
does not consider that the changed districts in his Illustrative maps overlap many more counties

than just those   71. In fact, the six (6) districts that he changes on both ofthe Illustrative   Plans

span 121 of the 159 counties in Georgia. Even a county where no specific district change

occurred can see an effect since the total body ofthe electorate in the district is different and the
areas added or taken away from a congressional district may influence whom the district elects.


        Most of the standard map packets produced by my office contain detailed maps of the
four (4) primary population centers outside ofthe metro Atlanta area- Macon-Bibb County,
Columbus-Muscogee County, Augusta-Richmond County, and Chatham County (Savannah).
These four counties are the largest counties outside of the metro Atlanta area, ranking 5th

(Chatham), 9th (Richmond), lOth (Muscogee), and l3th (Bibb) in terms of highest county



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population in the state. Mr. Cooper only considers three (3) of these and fails to acknowledge
Muscogee County as part of his designatedTl county region.


         Muscogee County is the third largest county in the state of Georgia that is outside of the

metro Atlanta area. It is larger in total population than Bibb County and has a higher percentage
of AP Black population (47.34%) than Chatham County (4I.27%). In paragraph 42 of his
report, Mr. Cooper mentions that each of the population centers he names has a majority-black
state Senate district in them. Muscogee County also has a majority-black population district- SD

15 at 54.82% AP        BVAP. It also borders another majority AP black    Senate district just to its

south that encompasses many of the highest percentage AP black counties. This is SD 12, which

has a BVAP    of 59.13%.      (See Exhibit   6)   Cooper ignores these demographics with no

explanation. Of the state Senate districts Cooper identifies (SD 26 in Macon, SD 22 in Augusta,
and SD 2 in Savannah), none border any of the other majority AP black Senate districts in the

state.


         Not only does Cooper's selected 71-county region leave out the population center         of
Muscogee County, it also strategically leaves out the counties in southwest Georgia that have

high percentages of AP black population. Cooper does not explain why he fails to include these
counties, which are also impacted by any change that would be made to the districts across South

Georgia. The counties he does not include are the exact2S counties that make up Congressional
District 2, minus Bibb County, which Cooper removes from Congressional District 2. (See
Exhibit 7)

         As Mr. Cooper states in his report, the district to which Bibb County is assigned makes it
geographically difficult to create a majority black district near District 12. (Cooper fl 53).     If
Macon-Bibb County remains in Congressional District2,Mr. Cooper would be unable to create
the District 12 he proposes.

         Bibb County bordered District 2 on the benchmark "Cong05" map and has sufficient
population to bring District 2 into balance. Its inclusion in District 2 makes the district over        50olo

AP black, without dividing any smaller counties. The only two (2) counties in the current
District 2that   are   split are Bibb County and Muscogee County. There was no need to seek out
additional population as District 2 already met the Gingles 1 precondition of "sufficiently


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numerous and geographically compact". Slight adjustments to District 2 plus its addition           of
72.42% of Bibb County was sufficient. Further, Bibb County has never been in the same
Congressional district as Richmond and Chatham counties at any time over the last 40 years.

         Mr. Cooper fails to explain what happens to the demographics of District 2 once he
creates the new   District   12 he proposes on his   Illustrative Plans. In short, to increase the AP
black population and BVAP in District 12, you must reduce it in District        2. This results in an
exchange of one majority AP black district for another. The tables of statistics in his report do

not include the impact on either Dishict 2 or District 3, both of which are significantly changed.
Below are the changes to the overall black population in District 2 on the benchmark map and
the Illustrative Plans.


Congressl2                ToAP Black             o    18+ AP Black         ToBlack Reg. Voters 2016
Current Plan

District 2                s2.28%                 49.46%                    51.22%


Illustrative Plan   I     ToAP Black             "Al8+ AP Black            ToBlack Reg. Voters 2016


District 2                49.72%                 46.92%                    48.31%


Illustrative Plan   2     ToAP Black             o/ol8+_AP    Black        ToBlack Reg. Voters 2016


District 2                49.8t%                 47.03%                    48.44%




         Mr. Cooper states that he calculated registered voter data using a geocoded voter file.
Having studied and utilized geocoding for over 15 years, there are many potential problems in
relying upon this information. Successful geocoding depends greatly on the quality of the street
file you use and the accuracy and uniformity of the address database you geocode. I assume that
Mr. Cooper geocoded the voter file against the TIGER street file that is a part of the 2010 Census
data   information. If so, this file is almost ten years old and it would not include the most recent
street names and updated geography.


         There is also a great deal of variance in the naming conventions of streets. A given street
may have multiple recognized names, but only one that shows up in the street          file.   This means

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that voters using an alternate street name for their address would not be located. There is a
possibility that street ranges assigned to a street file may not be accurate. This means that the
numbers of addresses in the file that are assigned to one side of the street or the other could be

inaccurate, may not include all actual address numbers, or may not even be present. It is highly

complex and time consuming to attempt to standardize street names in order to achieve a more
accurate geocode. To geocode an entire statewide file would produce many effors and voters

that would not be assigned or located. Even a single Congressional district would be a large
undertaking that most likely would result in a broad estimate.

         Cooper states that he compares a December 2017 statewide voter registration file to

November 2018 voter registration summary statistics. He correctly states that that there have
been voting precinct changes since 2016. These changes vary by county and over that time

period. By using a list of voters that is one year older (Dec.2017) than the registration totals
(Nov. 2018) that he attempts to allocate by district, Cooper necessarily makes broad assumptions
about the accuracy of the data over time and with the knowledge that the data may not accurately

match the precincts listed. Mr. Cooper does not provide information on the number of records

that did not locate or the percentage of voters he found to base his data. I would not expect this
type of analysis to give a true and accurate picture of the actual numbers and demographics           of
the registered voter data by district.

         The most recent complete precinct layer my office has corresponds to the voting

precincts and data used for the November 2016 General Election. The data is provided as of that
specific date and is matched to the geography for the voting precincts used in that election which
is verified by all county elections officials. It is accurate for every whole precinct in the state
and is proportionately estimated when a precinct is split between districts. From this 2016

precinct layer which includes voter registration numbers by race, I find differences in the
numbers put forth by Mr. Cooper. On Congressional District 12 in Illustrative Plan           l,   he shows

as   55.4%o   black registered voters as of December 2017 (Cooper Figure       l5). Illustrative Plan 2
has a 55.27o/o black registered voter number.        My data shows this same figure to be 51.260/o
(2016 data) on his Illustrative Plan     l.   I would not expect there to be a change of over 4% in just

one year and, based on my experience, it appears that Mr. Cooper's method of geocoding

overstates the total number of black registered voters.


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          Mr. Cooper states that his Illustrative Plans comply with traditional redistricting
principals, but his maps increase the number of split counties, are less compact, and divide

counties, precincts, and cities in unnecessary and unnatural ways. It is not necessary to consider

incumbency, as members of Congress do not have to reside in the district they represent.




                                           Illustrative Plan     I
          As drawn, Illustrative Plan   I would   make changes to six current Congressional districts.

This includes districts 1,2,3,8, 10, and 12. There are 40 counties that would have to make a
change to their voter assignments and ballot combinations. Illustrative Plan         I would affect     the

district assignment and representation of approximately 1,165,325 people across the state. This
is   just under the size of two Congressional districts.

          The plan shifts the fourth majority AP black district from      District2tobe District   12 by

stretching across the state to piece together populations in Macon-Bibb, Augusta-Richmond, and
Chatham counties to create its    majority.   As explained below, it focuses on the use of race alone
to achieve the goal of the plan, which is for DistrictT2to have an AP BVAP just over           50olo.




                                              County Splits

          When drawing a Congressional map for the state of Georgia, you build districts by
combining counties in order to achieve the ideal district size. Since only four (4) counties are          as

large as or larger than a Congressional district,      it is the combination of counties together that
give the ability to create a district of the corect size. It does become necessary at times to divide

counties in order to reach the desired population size, but such divisions should be as few as
possible and should be done in larger counties which are typically divided on other redistricting

plans such as the State Senate or State House.


          Mr. Cooper states that his map, Illustrative Plan 1, divides 17 counties, which is more
than the existing plan that divides 16 counties. The choice of which counties to split and how to

split them is also important. Illustrative Plan    I   splits Butts County (total population23,655)by


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removing all but 3,405 people from District 10 and assigning them to District 3. Butts County
was not split on the last two Congressional District maps and has only been split once on a

Congressional district map in the last 40 years. Cooper mentions that neighboring Henry County
is now only split into two districts rather than three, but with a population of 203,922, all three

portions of Henry County that are currently in District 3 (60,521people), District           l0 (45,768
people), and District 13 (97,633 people) are significantly larger than the size of Butts County in

its entirety. Dividing Butts County also splits the city of Jackson (total population 5,045) into
two (2) districts. (See Exhibit 8)

         Other county splits such as Macon-Bibb, Chatham, and Lowndes appear to have fingers
reaching through the county to take out specific populations     .   (See   Exhibit 9). The total
population (212,113) assigned to District      l2 from Macon-Bibb and Chatham counties combined
is 67.79o/o AP Black.   ltis   63.15% AP Black     VAP. To break this down further, the portion of
Macon-Bibb County assigned to District 12 is7552% AP black population and7l.Z7o/o AP
black   VAP.   The portion of Chatham County (Savannah) assigned to District 12 is 62.32% AP

black and 57.73% AP BVAP. It is clear that Mr. Cooper selected the people to be included in
District 12 based on their race.

        Lowndes County (population 109,233), is split on the current plan (Congress12) but
follows the county line on its eastern side. On Illustrative Plan 1, Lowndes has         a   thin finger
across its middle in District 2 andthe top and bottom parts of the county in District          8.   The
portion of the county split into District 2 is 42,675 people and is 64.19%AP black population
and 59.58%o AP black    VAP.     (See   Exhibit 9,A)

        Mr. Cooper also chose to move Lee County from District 2 into District 8. Lee County
has been in District 2 as far back as the 1970s. Only for two (2) election cycles was the southern

portion of Lee County in District 8, before the Miller v Johnson decision invalidated that
Congressional map. 515 U.S. 900 (1995). In 2010, Lee County had a78.03% AP white
population. Cooper's Plan moves this county out of District2 and into District 8 in an attempt to
lessen the dilution of black voting strength in District 2 that results from his transfer of Bibb

County from District 2 to District 12.




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       For the same reason, Illustrative Plan    I moves Crawford County    out of District2 to
District 8 although most of it borders counties in District 2. Crawford County also had a75.76%
AP white population as of the 2010 Census.

       It is obvious that lines were drawn moving counties, or parts of counties, in and out of
districts based solely on the race of the population being moved and without regard to making
districts more compact or to keeping communities of interest together.




                                            Voting Precincts

       In Georgia, voting precincts are a significant building block used in creating districts.
Voting precincts are small geographic areas with clearly defined boundaries that are determined
locally by each county election supervisor. Keeping precincts whole allows greater ease of voter
assignments to ballot combinations as well as understanding amongst voters as to which district

they reside   in.   The Official Code of Georgia describes the geographic features that can be used

as precinct boundary      lines. Precincts combine voters who live in the same communities and
neighborhoods. Election officials assign polling places for precincts often at local schools and
churches that are central to the area where these voters   live. Voting precincts are also   a

continuous feature to match between redistricting plans at different levels to assist county
elections officials with the assignments of voters to various different districts (e.g. Congressional
maps, Senate maps, House maps, Commissions and School Boards). Voting precincts do, at

times, have to be divided on Congressional maps to achieve a deviation of zero, but reducing
splits to as few as possible is a priority. By keeping precincts and counties whole, communities
remain together.

       Mr. Cooper states in his report that Illustrative Plan I divides 38 precincts, which is an
increase from the number that originally existed when the plan "Congressl2" was adopted.            At
that time, only 34 populated precincts were split between districts. From my analysis,

Illustrative Plan I divides 39 populated precincts in the 2016 precinct layer. As the2016
precinct layer is the most current precinct layer and is the precinct guideline to follow when

drawing a map presently, this plan increases the number of split voting precincts by five        (5).   To
draw a Congressional map with zero deviation, it is often necessary to divide some voting

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precincts. However, Illustrative Plan I not only splits more voting precincts, it divides local
residential neighborhoods and uses irregular geographical features to do so.

         In Muscogee County, several residential neighborhoods are split using a street or a water
feature that runs through a residential neighborhood. Splitting a precinct on a prominent street

feature is not uncommon, but to choose a residential, neighborhood street to divide congressional
districts, thus dividing neighbors into different congressional districts, causes voter confusion
and frustration. Water features make reasonable district boundary lines also, but not when that

feature flows directly through an area of homes in a residential neighborhood. (See Exhibit 10)

         In Effingham County, the small town of Guyton, population 1,684 is cut in half. The
2010 Census lists 618 people in Guyton as AP black(36.7%). Illustrative Plan          I puts 467 of
those 618 (75.57o/o) into District 12. The portion of Guyton he carves into District 12 is 72.18%

AP black and has an AP BVAP of 73.49%. To split a town so small is problematic enough, but
here Cooper not only splits this small town, but does so strictly along racial lines. (See Exhibit

t 1)


         In Lowndes County, there are only nine (9) voting precincts. Mr. Cooper splits four of
these nine precincts, opting to cut across the city of Valdosta rather than taking compact

precincts and dividing fewer in the process. The district lines here look like azigzag jumping up
and down features from a creek, to a city   limit line, to streets, to a railroad line, and back to a
creek. The portion of Lowndes County placed in District 2was an attempt to mitigate the
dilutive effect on black population totals of District 2 after moving Bibb County from District 2
to District 12. The population in Lowndes County that Mr. Cooper puts into District 2 is 64.19%
AP black and 59.58Yo AP BVAP. The remainder of the county that is in District 8 is 19.37% AP
black and 18.36% AP BVAP. It is clear here that Mr. Cooper split the county the way he did
based solely on race. (See Exhibit 98)




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                                           Compactness

        As stated in the report of Mr. Cooper, "District 12 under the two illustrative plans scores
slightly less compact..." I recreated the two compactness tests to which Mr. Cooper refers. The
scores on both the Reock and Polsby-Popper tests show Illustrative Plan 1 to be less compact

than the current Congressional map "Congressl2". To read the scores for both type of tests, the

closer the score is to one (1), the more compact the district is. (See Exhibits 12,12A,13, 13A)




Compactness Score for all districts- Reock


                       Congressl2                     IUustrative Plan   I
                       Current PIan

Min                    0.33                           0.26


Max                    0.55                           0.54


Mean                   0.45                           0.42


Std. Deviation         0.07                           0.08




Compactness Score for Congressional District    l2- Reock

                       Congressl2             Illustrative Plan   I
                       Current Plan

District l2            0.41                   0.35




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Compactness Scores for all dishicts- Polsby-Popper


                         Congressl2                     Illustrative PIan      I
                         Current Plan

Min.                     0.16                           0.14


Max.                     0.37                           0.37


Mean                     0.26                           0.24


Std. Deviation           0.06                           0.07




Compactness Score for Congressional District 12- Polsby-Popper


                         Congressl2              Illustrative Plan 1
                         Current Plan

District l2              0.18                    0.16




        From my reports, the mean score for the Reock test on Illustrative Plan          I   is different from
what Mr. Cooper reports. I found that the Reock test gave a 0.42 mean instead of 0.44 as Cooper
reports. Mr. Cooper's     Reock analysis of Congressional District         l2 alone shows that the
modified District 12 scores lower and less compact (Illustrative Plan         1:   0.35) than the current
map (Congressl2: 0.41). The same can be said of District 12 under Polsby-Popper analysis.
(Illustrative Plan   l:0.16   and Congress   12:0.18)

        Overall, the scores for compactness on both tests show lower scores than what the cunent
map has. This means the proposed districts on Illustrative Plan        I   are less compact.




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                                           Illustrative Plan      2


        Like Illustrative Plan l, Cooper's Illustrative Plan2 makes changes to six (6)
Congressional districts-    1,2,3,8,   10, and   12.   Changes to district boundaries in Illustrative Plan

2 differ from Plan   I   in ten (10) counties (Bibb, Butts, Jasper, Jones, Lowndes, Monroe,
Muscogee, Peach, Putnam and        Taliafeno).    Five of these ten counties (Bibb, Butts, Lowndes,
Muscogee and Peach) are split in Illustrative Plan          2. Butts County remains split between
Districts 3 and 10, but the division is in a different area than it was on Illustrative Plan 1. Bibb
County, Lowndes County, and Muscogee County are still split between two districts, but that
split is on a different boundary than it was on Illustrative Plan 1. Peach County is now split
between two districts where it was not split in Illustrative Plan 1.


        Illustrative Plan2 would require 38 counties to make changes to their voter assignments
and ballot combinations. This would affect the district assignment of approximately 1,143,037
people across the state




                                             County Splits

       Mr. Cooper states that his map, Illustrative Plan2, divides 18 counties, which is more
than the existing plan (16) and his Illustrative Plan        I (17).   As mentioned before, counties are the
building blocks of Congressional districts across most of Georgia. Although it is necessary to
split some counties to achieve an ideal district size, such divisions should be as few as possible.
The same can be said for voting precincts.

       Illustrative Plan2,like Plan 1, splits Butts County (total population 23,655) by removing
all but 5,889 people from District l0 and assigning them to District 3. (See Exhibit l4). Butts
County was not split on the last two Congressional District maps and has only been split once on
a Congressional district map in the last 40 years. Cooper mentions that neighboring Henry

County is now only split into two districts rather than three, but with a population of 203,922, all
three portions of Henry County that are currently in District 3 (60,521people), District 10

(45,768 people), and District 13 (97,633 people) are significantly larger than the size of Butts




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County in its entirety. Dividing Butts County as it is on this map also splits the tiny city       of
Jenkinsburg (total population 370) by placing five (5) people into District 3.


         The specific population (212,113 people) placed in District 12 from Macon-Bibb and
Chatham counties combined is 67.79% AP Black and 63.15o/o AP Black               VAP. To     break this

down further, the portion of Macon-Bibb County assigned to District 12 is74.7l% AP black
population and70.54Yo AP black VAP. The boundary lines for District 12 in Bibb County
include all of the same area as in Plan        l, but add some additional population. Plan 2 makes      one

voting precinct that was split in Plan I whole, but now splits two additional precincts in the same
area. The portion of Chatham County (Savannah) assigned to District 12 is the same on Plan?
as   it was on Plan   l-   62.32% AP black and 57.73%o AP BVAP. (See Exhibit         l5)

         Lowndes County (population 109,233), is split on the current plan but follows the county
line on its eastern side. On Illustrative Plan2, a larger portion of Lowndes County is in District
2 than on Plan 1. There is still alarge thumb running across the city of Valdosta to take in
specific population based on their racial makeup. (See Exhibit 16) Plan 2 adds an additional
voting precinct and splits others. The portion of the county split into District 2 is 53,624 people
and is 55.95% AP black population and 52.8%o AP black            VAP.    The remainder of Lowndes

County has a population of 55,609 and is 18.5% AP black and 17.62% AP BVAP.

         Peach County (population 27,695) on Illustrative Plan 2 is split into District 2 and

District 8. Peach County has been whole in one Congressional district as far back as the 1970s,
with the exception of two (2) election cycles (1992 and 1994) when some portions of Peach
County were in two districts before the Miller v Johnson decision invalidated that Congressional
map. On Illustrative Plan2, Mr. Cooper opts to take 12,665 people from Peach County and
place them in District       8. This population   is 78.81% AP white and has an AP white VAP

percentage of 79.54%. The portion of Peach County that would remain in District 2 (15,030

people) is71.l6Yo AP black and7l.\2Yo AP Black               VAP.   Rather than keep the county whole in

either district,   Mr.     Cooper chose to divide it along racial boundaries. (See Exhibit   l7)

         In the same way as Plan 1, Illustrative Plan2 also moves both Lee County and Crawford
County into District        8. Both of these   counties have high AP white populations (Lee- 78.03% AP

white and Crawford- 75.76% AP white) and were taken out ofDistrict 2to attemptto minimize


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the dilution of black voting strength in District 2 resulting from the transfer of Bibb County from
District 2 to District 12.

            Like Plan 1, it is obvious that lines were drawn moving counties, or parts of counties, in
and out of districts based solely on the race of the population being moved and without regard to

making districts more compact or to keeping communities of interest together.

                                              Voting Precincts

            Mr. Cooper states in his report that Illustrative Plan 2 divides 39 precincts, which is an
increase from the number that originally existed when the plan "Congressl2" was adopted,

which had only 34 populated precincts split between districts. From my analysis, Illustrative
Plan 2 divides 40 populated precincts in the 2016 precinct layer, one more than Illustrative Plan
I   .   As the 201 6 precinct layer is the most current precinct layer and is the precinct guideline to
follow when drawing        a map now,   this plan increases the number of split precincts by six   (6).   To
draw a Congressional map with zero deviation, it is necessary to divide some voting precincts.
However, Illustrative Plan2 not only splits more voting precincts, it divides local residential
neighborhoods and uses irregular geographical features in a similar way as Plan         l.

            In Bibb County, Illustrative Plan2 nearly follows the same boundary line ofthe existing
map in one area. Yet three (3) census blocks are changed resulting in a different division of the
Howard 2 voting precinct. It now runs through the middle of a cul-de-sac on a residential street
and changes the district assignment of 30 people. (Exhibit 15)


            In Effingham County, the same split of the small town of Guyton exists as previously
described on Illustrative Plan 1. (Exhibit I     l)

            In Lowndes County, there are only nine (9) voting precincts. Mr. Cooper takes two
precincts in their entirety into District 2 (precincts Clyattville and Mildred). He splits five
additional precincts, cutting out parts of the city of Valdosta. The district lines in this area
follow random features and divide local residential neighborhoods. The portion of Lowndes
County cut out for District 2 was an attempt to reduce the effect on black population numbers in
District 2 when he removed Bibb County. The population in Lowndes County that Mr. Cooper
puts into District 2 is 55.95% AP black and 52.18o/o AP BVAP. The remainder of the county


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that is in District 8 is l9.37Yo AP black and l8.36Yo AP      BVAP. It is clear here that Mr. Cooper
chose the population specifically due to their race.     (Exhibit l6)




                                              Compactness

Illustrative Plan2 does not improve on compactness from either Congressl2 or Illustrative Plan
1. The charts below show that on the Reock test, Illustrative Plan 2 scores slightly more compact
than Mr. Cooper's Plan   l, but still   less compact than the current map, Congressl2. (See Exhibits

12B and   l38)

Compactness Score for all districts- Reock


                       Congressl2                Illustrative Plan   I   Illustrative Plan 2
                       Current Plan

Min                    0.33                      0.26                    0.34


Max                    0.55                      0.54                    0.54


Mean                   0.45                      0.42                    0.44


Std. Deviation         0.07                      0.08                    0.07




Compactness Score for Congressional District 12- Reock


                       Congressl2                Illustrative Plan   I   Illustrative Plan 2
                       Current PIan

District l2            0.41                      0.35                    0.34




For the Polsby-Popper analysis, Illustrative Plan2 has slightly more compact scores than

Illustrative Plan 1, but does not show more compactness than the existing map. This is also true
for District 12 alone, which still scores lower on Plan2 than the existing map Congress12.



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Compactness Scores for all districts- Polsby-Popper


                        Congressl2                 Illustrutive Plan   I   Illustrative PIan 2
                        Current Plan

Min                     0.16                        0.14                   0.15


Max.                    0.37                        0.37                   0.37


Mean                    0.26                        0.24                   0.25


Std. Deviation          0.06                       0.07                    0.06




Compactness Score for Congressional District          l2- Polsby-Popper

                        Congressl2                 Illustrative Plan   I   Illustrative Plan 2
                        Cunent PIan

District   12           0.18                       0.16                    0.17




                                                 Conclusion


        Based on the foregoing analysis, I conclude that the districts, as modified from the

current plan, in Illustrative Plans   I   and2 are not based on any traditional redistricting

principles. Rather, districts 2 and 12 in Illustrative Plans    I   and 2 are drawn   with   a complete and

total focus on the race ofthose individuals that are moved in and out ofthose districts. ln

contrast, the cunent congressional plan (Congress12) considered all traditional redistricting

principles and drew majority-minority districts that gave African-American voters the

opportunity to elect their candidates of choice. Further, the Plaintiffs' illustrative district plans

do not demonstrate that the African-American population is geographically compact enough to

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allow for the creation of an additional majoity-minority dishict. Even after Cooper's use of

race as a predominant factor in redistricting, he was only able to make   Distict   12   majority

African-American by reducing the African-American population in District 2 below majority

status. Cooper's   plans would have a detrimental effect on all affected votets, communities, and

election oflicials across the state of Georgia.




        Pursuant to 28 U.S.C. $ 1746, I declare underpenalty of pedury that the foregoing is        tue

and conect.




        Executed this   Lffi    ofJanuary 2019.




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                                                                                                                                                  EXHIBIT 1B
Plan Name: CongO2                          Plan Type   :   Congress                    User: staff                  Administrator: State




                                                  oh                             o/o         BI,ACK    TOTAL          o/oTOTAL        HISP. OR
DISTRICT POPULATION DEVIATION DEVIATION BLACK                                   BI-ACK       COMBO     BLACK            BLACK              LATINO        o/oHISP


001           629,761                 34          0.01%           t43,017        22.71o/o      3,149   146,166           23.21%             25,831        4.10%

      VAP     456,300                                                 94,914     20.80%        1,104    96,018           21.04%             16,696        3.66%


002           629,735                  8          0.00%           281,832        44.7s%        ? q??   284,',165         4s.22%             21p02         3.48o/o


      VAP     455,164                                             187,367        4t.16%        1,314   188,681           41.45%             14,700        3.23%


003           629,748                 2l          0.00%           2s1,792        39.98%        2,133   253,925           40.32%             16,140        2.s6%

      VAP     464,632                                             173,520        37.35%          947   174,467           37.55%             10,834        2.33%

004           629,690                            -0.01%           t37,146        5354%         7,203   344,349           54.69%             53,836        8.5s%

      VAP     472,78s                                             232,274        49.13%        4,211   236,48s           50.02%             40,046        8.47o/o


005           629,727                  0          0.00%           3s3,s40        s6.t4%        4,908   358,448           56.92%             38,1 9   1    6.06%

      VAP     492,438                                             253,078        51.39/o       3,204   256,282           52.04%             29,021        5.89/o


006           629,725                             0.00%               43,856      6.96%        2,484    46,340            736%              28,359        4.5U/o

      VAP     455,805                                                 30,1 86     6.62%        1,144    31,330            6.87%             I   9,884     4.36%


007           629,706                -21                              44,474      7 .060/o     1 aoa    46,766            7.43%             34,01I        s.40%
                                                 0.00P/o

      VAP     444,493                                                 29,384      6.61%          871    30,255            6.81%             ))   6q7      5.tt%

008           629,700                 a1                              79,4t3     12.61%        2,106    81,519           12.95%             13,480        2.14%
                                                 0.jE/o

      VAP     457,97 |                                                54,564     11.91%          721    55,285           12.07%                 8,973     L960/o


009           629,762                 35         0.O1Yo               86,s71     13.75%        2,015    88,586           14.07/o            t6,379        2.6U/o

      VAP     467,232                                                 60,059     12.85%          644    60,703           1299%              10,599        2.27%


010           629,702                -25         0.00%                21,620      3.4!/o       I,349    22,969            3.650/o           59,240        9.41%

      VAP     463,958                                                 ls,l77      3.27%          412    1   5,589         3.36%             37,895        8.17%

0ll           629,730                  3         0.00%            179,296        28.47%        7 967   183,263           29.10%             45,433        7.21%

      VAP     465,484                                             l2t,117        26.02%        1,600   122,7t7          26.36%              3t,026        6.67%


0t2           629,735                            0.jV/o          268,207         42.5f/o       3,807   272,014           43.19o/o           t8,112        2.88%

      VAP     470,201                                             181,648        38.6T/o       1,719   183,367           39.00o/o           t2,699        2.70%

013           629,732                  5         0.jtr/o         2s8,778         41.09%        5,537   264,315           4197%              64,313       10.21%

      VA?     450,756                                             169,697        37.65%        2,602   172,299           38.22%             44,1 88       9.80%




DATA SOURCE: 2010 US Census PL94-l7l Population Cor
                             Case 1:18-cv-02869-RWS Document 66-5
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Plan Name: Cong02                               PlanType: Congress             User: staff           Administrator: State




                                                       o/o               o/o       BLACK     TOTAL     %TOTAL          HISP. OR
DISTRICT           POPULATION         DEVIATION DEVIATION       BLACK   BLACK      COMBO     BLACK       BI"ACK             LATINO   %HISP


TotalPopulation:       8,186,453
Ideal   Value:     629,727
Summarv Slatistics
Population              to
             Range'. 629,690          629,762

               Range: 72
Absolute Overall
Relative   Range: -0.01% to           0.01%
Relative Overall   Range:     0.01%




DATA SOLIRCE: 2010 US Census PL9&171Population         Cor                                                             2
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                                                          01/25/19 Page 29 of 65
EXHIBIT 2       Georgia Congressional Districts- Adopted                                                                                    2005                       EHi"""j,,',:


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EXHIBIT 2A    Georgia Congressional Districts- Adopted                2005       Fr"r'i,:1,"fi,




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                                                                                                                                   EXHIBIT 28
       Plan Name: Cong05                Plan   Type:     Congress              User: staff               Administrator: State



                                                     o                                                   TOTAL
                                                                                      ao       BLACK                 %TOTAL      HISP.OR
 DISTRICT POPULATION DEVIATION                   DEVIATION      BLACK           BLACK                    BLACK       BLACK       LATINO        %HISP

001                629,727        0                0.00%            158,066      25.10%         3,308    161,374      2s.63%      24,03s       3.82%
          VAP      4s7,934                                          105,349      23.01%         1,208    106,557      23.2704      15,552       3.40%

002                629,727        0                0.00%            301,1 20    47.82%          3,1"n    304,291      48.32%       1   8,867    3.00%
          VAP      455,548                                          202,775      44.st%         1,427    204,202      44.83%       12,735       2.80%

                                                   0.00%            120,612      19.15%         2,133    122,745      19.49%       13,963       a 1ao/
003                629,727        0
          VAP      457,200                                          81,885       17   .9lo/o     748     82,633       18.07%       9,483        2.07%

004                629,726                         0.00%            333,897      s3.02%         7,382    341,279      54.19%      67,666       10.75%
          VAP      461,692                                          228,096      49.40%         4,1 68   232,264      50.31%       48,709      1055%

005                629,728                         0.00%            353,437      56.13%         4,563    358,000      56.8s%      38,9ss        6.19%
          VAP      488,824                                          25t,457      51.44%         2,978    254,435      s2.05%      29,s47        6.04%

006                629,726        -l               0.00%            43,087       6.84%          2,566     45,653      7.25%       39,199        6.22%
          VAP      466,289                                          31,236       6.70o/o        1,324    32,560       6.98%       28,533        6.12%

007                629,727        0                0.00%            73,400       11.66%         3,052    76,4s2       12.14%      38,711        6.15%
          VAP      449,3?7                                          49,193       10.95%         1,231    50,424       11.22o/o    26,188        5.83%

008                629,728                         0.00%            205,312      32.60%         2,217    207,529      32.96%       17,555      2.79%
          VAP      459,579                                          138,245      30.08%          858     139,t03      30.27%       11,697       2.55%

009                629,728                         0.00%            18,749       2.98%          1,221     19,970      3.17%       58,356        9.27%
          VAP      466,819                                          13,1 13      2.81%           369     13,482       2.89%       37,251        7.98%

010                629,728                         0.00o/o          125,591      19.94%         2,557    128,148      2035%       20,871        331%
          VAP      477,825                                          87,687       18.3s%         1,003    88,690       18.56%       14,074       2.95%

01 I               629,727        0                0.00%            74,164       11.78%         2,638    76,802       12.20%      32,335        5.13%
          VAP      459,803                                          50,932       I 1.08%         981     5l,9t   3    11.29%      22,031       4.79o/o


012                09,727         0                0.00%            281,965      44.?8%         3,173    285,138      45.28o/o     16,937      2.69%
          VAP      460,719                                          191,307      41.52%         1,429    192,736      41.83o/o     11,437      2.48%

013                629,727        0                0.00%            260,142      4131%          5,902    266,044      42.25%      47,717       7.59%
          VAP      455,61 0                                         171,7l0      37.69%         2,?69    174,479      38.30%      32,021        7.03%


TotalPopulation:      8,186,453

Ideal   Value:   629,727
Summary Statistics
Population Range: 629,726 to           629,728

Absolute Range:        -l    to           I

Absolute Overall Range:    2

Relative Range:     0.00% to           0.00%

Relative Overall Range: 0.00%




DATA SOURCE: 2000 US Census PL94-lTl Population Counts
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                                                                                                                                                 EXHIBIT 2C
Plan Name:   CONG0S-TIGER20IGEDATA          Plan Type                           User: stalf                        Administrator: admin




                                                   o/o
                                                                          Yo         BLACK         TOTAL             YITOTAL        HISP. OR
DISTRICT     POPULATION      DEVIATION DEVIATION            BLACK        BLACK       COMBO         BLACK               BLACK          LATINO          %HISP


001            722,068             30,093         4.35%     182,703       2530%            7,900   190,603             26.40%              46,428      6.43%

      VAP      s39,387                                      129,773       24.06%           2,696   132,469             24.56%              29,439      5.46%

0o)            631,973            -60,002         -8.67%    305,953       48.41o/o         5,736   3l 1,689             49.32%             ?o nrs      4.59/o

      VAP      473,245                                      219,331       46.35o/o         2,34s   221,676              46.84o/o           19,050      4.03%


003            817,247            125,272         tg.t\%    200,413       24.s2%           8,488   208,901             25.56%              40,003      4.8f/o

      VAP      602,082                                      I   39,910    23.24%           t olo   142,849             23.73%              25,424      4.22%


004            665,541            -26.434         -3.82yo   373,326       56.09/o          9,361   382,687             s7.s0%             t07,294     16.12%

      VAP      491,317                                      268,506       54.650/o         5,131   273,637              55.69%             70,639     14.38/o


005            630,462            -61,513         -8.89/o   317,168       s0.3t%           7,641   324,809              51.52%             50,167      7.96%

      VAP      s02,193                                      241,214       48.03%           5,034   246,248              49.03%             3s,026      697%

006            767,798             75,823         10.96%        78,905    10.280/o         6,989       85,894          11.19%              71,779      9.35o/o


      VAP      567,076                                          s7,271    10.10%           3,082       60,3s3          10.64%              46,929      8.2V/o


007            903,1 9 1         2ll,216         30.52o/o   202,154       22.38%       1   1,700   213,8s4             23.68%             I I 8,860   t3.16%

      VAP      642,070                                      133,875       20.85%           4,584   138,459             21.s6%              74,110     n54%

008            715,599            23,624          3.41%     249,953       34.930/0         6,174   256,127             35.79%              34,843     4.87%

      VAP      530,981                                      175,335       33.02%           2,143   177,478             33.42%              2l,531      4.05%


009            823,583            131,608         19.02%        27,508     334%            4,177       31,685            3.8s%            111,467     13.5T/o

      VAP      609,141                                          19,728     3.24%           1,160       20,888            3.43%             65,538     10.76%


010            738,248            46,273          6.69%     143,t21       19.39/o          6,560   I   49,68   I       20.28%              44,248      5.99/o

      VAP      567,614                                      I   03,905    18.31%           2,380   106,285             18.72%              27,806     4.9U/o


0ll            794,969            102p94          t43g%     123,977       15.6U/o          8,554   t32,531             16.67%              68,054     8.560/o


      VAP      583,126                                          85,977    14.74%           2,828       88,805          15.230              4t,678     7.15%

012            692,529               554          0.08%     299,534       43.25o/o         6,850   306,384             44.24%              31,703     4.58%

      VAP      523,257                                      214,419       40.9tr/o         2,736   217,155             41.50%             20,820      3.98/o


013            784,44s            92,470          13.36%    445,720       56.82%       13,533      459,253             58.54%              99,8 I 8   12.72%

      VAP      564,612                                      308,226       54.59/o          6,261   314,48'7            55.'700/o           6t,012     10.81%




DATA SOURCE: 2010 US Census PL94-l7l Population    Cor
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Plan Name:     CONG0S-TIGERjI0IGEDATA Plan Type                                    User: staff           Administrator: admin




                                                              o/o             Vo       BLACK     TOTAL     o/oTOTAL       HISP. OR
DISTRICT         POPULATION              DEVIATION DEVIATION         BLACK   BI-ACK    COMBO     BLACK       BI"ACK           LATINO   %HISP


TotalPopulation:       9,687,653
Ideal   Value:     691,975
Summarv Statistics
Population   Range'. 630,462 to          903,191

               Range: 272,729
Absolute Overall
Relative   Range: -8.89% to 30.52%
Relative Overall   Range:     39.41%




DATA SOLIRCE: 2010 US           Census   Pl.9zl-l7l Population Cor                                                        2
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EXHIBIT 3                           6 Majority AP Black counties out of top 28- Benchmark Gongressional Map   Plan: Cong05
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EXHIBIT 4 17 Majority AP Black counties out of top 28- Current Gongressional Map                              Plan: Congl€ssl2
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                                                                 Georgia Gongressional Districts                        I

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                                                                                                                    EXHIBIT 5




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                                                                  Georgia Congressional Districts                                                                                                                                                                    Plarr: C0nqrcssl2
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Plan Name: Congressl2                               PlanType: Congress                         User: staff                             Administrator: State




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DISTRICT       POPULATION          DEVIATION DEVIATION                   BLACK        BLACK          colvlBo         BLACK                   BLACK              I.ATINO      %HISP



001             69t,974                    -l               0.00Yo       207,7\        30.02vo          8,443        216,t54                 31.24o/"            39,76'l      5.15%


                5t8,743                                                  t47,082       28.35o/"          3,105        t50,t87                28.95o/o            25,656       4.95o/o
       VAP


002             69t,976                                     0.000/0      354,92s       51.29yo           6,835       36t,760                  52.28o/"           31,57'l      4.s6%


       VAP       5t6,392                                                 )<)   41r)    48.9tv"           2,847       255,4t1                  49.460/o           20,824       4.03%


003              69t,974                   -l               0.007o       t59,578       23.06V!o          7,034        t66,6tZ                 24.0896            34,9   l0    5.04r$


                 5il,_518                                                ll2,3l5       Zl.96V6           2.247        r   14.562              22.40Yo            22,243       4.3s%
       VAP


004              69t,976                                    n n0%        397,9n        57.50vo          10,608       408,5    l9              59.04o/"           64,605       934%

                 503.508                                                 ?78,76'7      55 16Vo           \,?40        284,O07                 56 4to/n           41,04   r    8.t5%
       VAP

                                                                         409,269       59.l4Vo           9,031        418.300                 60.45Yo             54,6t4      '1.89%
005              691,976                                    0.00%

                 54 1,900                                                3tJ6,497      56.56Vo           5,708        312,:205                57.6t%              37,ZI0      6.81%
       VAP


006              691,97s                    0               0.00%         86,265        12.47yo          6,77 t           93,036              13.uvo              92,409     13.35o/"


       VAP       519,046                                                   64,149       12.36yo          3,330            67,479              13.00%              62,253     n.99%


007              691,975                    0               o.ooy:o       125,010       18.07v"          8,298        133,308                 19.26V"            t29,930     t8.78%

                 489,868                                                   83,770       11.llyo          3,453            87,223              I't.8tvo            a2,12      16.16y;
       VAP


008              691,976                                    0.00%        204,995       29.6ZVo           5,455        2   10,450              30.4l%o             39,578      5,'72Vo


                 518,240                                                  t45,966      28.17v"            1,898       t47,864                 28.53V"             25,129      4.85o/"
       VAP


009              69t,97s                                    0.00o/"        46,065           6.660        3.615            49,740               7.190              79,413      n.48%

                 520,856                                                   33,384           6.4tyo           1,014        34,398               6.60%              46,597      8.95%
       VAP


010              69t,976                                     0 00%        t72,398       24.9lyo          5,577        t77,975                 25.72%              32,589      4.71%


                 521,343                                                  t23,159       23.74V"              t,963    125,722                 24.t2yo             20,668      3.960/o
       VAP


 0ll              69t,975                                    0 00%        t07,'107      t5.57yo          7,554            tr5,26t              t6.66%             75,109      t0.85%

                  512,398                                                  't6,732      l4.97Vo          3,130            79,862               15.58o/"           47,452      9.26%
        VAP


 0t2              69t,975                       0            0.00%        238,190       34.42o/o         7,297        245,487                 35.48%              36,890       533%

                  518,253                                                 169,848       32.-t7Vo          2,741           t72,589             33.30o/o            23,384      4.st%
        VAP


 013              69r.976                                    0.00%        382,493       55.28o/"         fi,6s7       394,150                  56.96%             71,303      10.30o/o


                                                                          262,t30       52.89%               5,t63    267,293                  53.93v"            La ti)       8.'10%
        VAP       495,652


 014              69t,974                   -l               0.00%         5'7,918          8.37V"       5,428             63,346               9.15o/o           70,995      1026%


                  508,184                                                  40,501           7.97Vo           1,480        4 t,98   I            8.260/0           4r,291       8.13%
        VAP




 DATA SOURCE: 2010 US Census PL94-l 71 Population Cou
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Plan Name: Congressl2                            PlanType: Congress                  User: staff           Administrator: State




                                                        ,^                     o/"         BLACK   TOTAL       %TOTAL                 HISP. OR
DISTRICT            POPULATION           DEVIATION DEVIATION          BLACK   BLACK        COMBO   BLACK        BLACK                  LIITINO   %HISP


TotalPopulation: 9,687,653
Ideal Value: 691,975

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Population   Rmge:     691,974   to   691,976

Absolute Overall   Rmge:         2

Relative   Rmge:      0.00% to        0.00olo

Relative   Ovrall Rmge:   0.00%




DATA SOURCE: 2010 US Census PL94-l7l Population Cou                                                                               2
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                                                   01/25/19 Page 41 of 65
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          Georgia Senate Districts- effective for 2014 election                              Flanr   sqab'l4
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           Georgia Senate Distriets- effective for 2014 election                                                fl{i:'.i',i'.i'"

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                                   Georgia Senate Districts- effective fior 2014 election                                                         Cllentr Stat€
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Plan Name: Senatel4                                    PlanType: Senate                      User: Gina                     Administrator: State




                                                               v"                                 BLACK          TOTAL         %TOTAL              HISP. OR
DISTRICT        POPULATION           DEVIATION DEVIATION                  BLACK       BLACK       COMBO          BLACK          BLACK               LATINO        %HISP


001              171,350                    I,644             -0.95o/o     37,852      22.09vo       2,493        40,345          23.55%              t0,252       5.98%

       VAP       t27,6t4                                                   26,202      20.53Yo            878     2'7,080         21.22o/"                6,353    4.98%


o02              t72,067                     -92'7            -0.54Vo      92,824      53.95o/o      2,226        95,050          55.24Vo                 9,860    5.73yo


       VAP       132,543                                                   66,4',70    50.150/0       1,050       67,520          50.94Vo                 6,981    527%


003              t7 |,952                  -t,042             -0.60v"      39,606      23.O3%        |,'7   55    4t,36t          24.05%                  8,534    4.96%

       VAP       129,192                                                   28,065      21.72o/"           585     28,650          22.t8%                  5,463    4.23%


004              173,075                                       0.osvo      41,5't I    24.02v"       t,245        42,816          24.74%                  8,958    5.t8%

       VAP       l3 l, l49                                                 30,454      23.22"/o           468     30,922          23sgv"                  5,691    4.340/0



005              172.513                     -481             -0.28v"      49,881      28.9lYo       2,90t        52,782          30.60%              71,8t5      4t.63%

       VAP       n9,904                                                    33,732      28.l3%o        t,292       35,024          29.2t%              4s,746      38.15o/o



006              173,708                      tt+             0.4l%o       39,863      22.95o/"      2,400        42,263          24.33%              24,754      t4.2s%

       VAP       t37,t6r                                                   30,590      72.30o/"       |,349       31,939          2329%               t6, I 60    11.78%


oo7              171,498                   -t,496             -0.86V6      39,294      22.9|v"       I,l l5       40,409          23.56Vo             I 1,685      6.81o/o


       VAP       128,245                                                   28,40r      22.tsVo            309     28,7 t0         22.39%                  6,972    5.44o/o



008              171,383                   -t,6 I I           -0.93o/o     56,380      32.90%        1,5    l5    57,895          33.78o/"                9,198    5.37%

       VAP       128,251                                                  40,080       3t.zsv"            592     40,672          31.7t%                  5,852    4.560/0



009              173,867                      873             o.500/"      34,699      t9.96v"       2,fio        36,809          2t.17%              18,207      t0.47%

       VAP       125,254                                                  22,663       18.09o/o           832     23,495          18.76Yo             I   1,604    9.26%


010              t72,386                     -608             -0.35o/"    ll8,77s      68.90%        2,6t4       121,389          70.42o/o                7,140    4.t4%

       VAP       125,304                                                   84,709      6'7.60%        1,289       85,998          68.630/o                4,386    3.50%


0n               172,584                     -4   l0          -0.24%       57,t23      33.l0o/"           959     58,082          33.65%              t3,703       7.94%

       VAP       t27,856                                                   39,947      31.24%             352     40,299          31j2%                   8,305    6.50o/o



0tz              173,03 I                                     o.02%       107,565      62.17o/"      I )41       108,827          62.89%                  6,t47   3.55%

       VAP       130,495                                                  76,60s       58.70V"            556     77,t6t          59.130/0                4,5s0   3.49%


013              17   1,539                -1,455             -0.84yo      55,521      32.37Vo         951        56,472          32.92%                  8,156   4.'t5%

       VAP       tz&,35l                                                  39,341       30.650/D           314     39,655          30.90vo                 5,009   3.90%


014              t73,t5l                      t57             0.09v"       15,505       8.95o/o      t,636        t7,t4t           9.900/0            18,976      10.96%

       VAP       t26,557                                                   10,603       8.38%             465     I 1,068          8.75Vo             1t,707      9.2s%


015              173,280                      286             0.t7%       96,128       s5.48yo       2,958        99,086          57.t\yo             10,633      6.t4%

       VAP       t28.462                                                   69,203      53.87%        1,220       70,423           54.820/0                6,935   5.40%




DATA SOURCE: 20 I 0 US Census PL94- I 71 Population Cou
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Plan Name: Senatel4                              PlanType: Senate                            User: Gina                       Administrator: State




                                                         v,                                        RI ATK         Tr)TAT.         O/.TNTA I          lttsP oR
DISTRICT       POPIJLATION        DEVIATION DEVIATION                  BLACK        BLACK          COMBO          BLACK             BLACK                I-ATINO      %HISP


016              t72,Ot2                 -982           -0.57Yo         35,797       20.gtyo          |,478        37,275           21.6'7Vo                7,t28      4.t4%

       VAP       t27,450                                                25,465       19.98V"              519      25,984           2039%                   4,s52      3.57Vo



017              t7t,8z2                -l,172          -0.68%          51,053       29.'7   tyo      2,t06        53,159           30.94Yo                 7,980      4.640/o


                 12t,373                                                33"663       27.74o/"             74'l      34,410          28.3sYo                 4,852      4.00vo
       VAP


0t8              112,982                   -12          -0.017o         48,323       27.94oto         t,242         49,565          28.65ot'o               6,126      334%

       VAP       132,567                                                35,668       26.9to/"              447      36,lls          27.24yo                 3,906      2.95v"


0t9              t73,261                  267            n    I 50/"    45,980       26.54%           t.751         47,731          21.55o/o               t5.524      8.96%


                 128,915                                                33.460       25.96Vs               529      33,989           2611Vn                10,084      1.82V"
       VAP


020              173.859                  865            0.50%           50,174      28.86Yo          1.700         5t,874           29.84Vo                7,596      4.37o/"


       VAP       t28,979                                                3s,31'1      27.38yo               JO/      35,884           27.82%                 4,759      3.690/0



02t              174,508                 1,514           0.88%           I 1,300      6.48"/,         1,358         t2,658            7.25o/o              n,'t42      6.130/o


                 t25,212                                                  7,721        6.l1Yo              489       8,210            6.56%                 7,457      5,96%
       VAP


022              t71,645                -1,349          -0.78%          l0 I,076     58.89o/"         2,998        104,074           60.63Yo                7,217      4.20V"


                                                                         7l,660      55.53v"          1,33'1        '12,997          56.51V"                4,98',2    3.86r
       VAP       129,039


023              t7 I,559               -l,435          -0.83%           62,136      36.22Yo          1,544         63,680           31.t2%                 5,51I      3.71o


                 128,048                                                 43,'n8      34.14%                496      44,2t4           34.53Yo                3,559      2.'l\Yo
       VAP


024              I't2,595                 -399           -0.23o/"        33,638       19.49o/"        1.599         J5,237           20.42Vo                6,943      4.02%

       VAP       t29,14'l                                                24,539       19.00%               4't0     25,009           t936%                  4,236      3.28yo



 025             t74,0t6                 t,022           o 590/"         52,329      34.07%           I,l/t         53,500                                  5,684

                 t34,483                                                 38,282      28.47Vo               378      38,660           28.75v"                3,698      2,7s%o
       VAP


 026              l7 1,35 I             -l,643           -0 950/"       103,229       60.24Vo         1,56    t    104,790           6t.t6%                 5,003      2.92V"


                  126,588                                                77,',l87     57   .5016           526      73,408           57.999/{               3,298      ?.6t9/o
       VAP


 027              t't2,726                -268           -0.15%           4,490        2.600/o             778       5,268            3.05Vo                t6,t79     9.3',7%


        VAP       t20,l2l                                                 2,998        2.50o/o             217       3,2't5           2.73Vo                t0,t77      8.47%


 028              172,3s8                 -636           -0.37%          28,697       16.65%           t,436        30.133           t'748Vo                9,s62       5.55Vo


        VAP       t26,t40                                                20,138       15.960/o             4t4      20,5s2           t6.29%                 6,218      4.93o/o



 029              173,91 I                 9t7            0.53Vo         45,5 I I     26.17%              t,733     47,244           27.t'7%                't,3t7     4.2t%

                  l3l,0lt                                                32,576       24.8'7%               552     33,128           25.29yo                4,795       3.66%
        \AP

 030              t72,531                 -463           -0.2'7%         33,612       t9.48Vo         2,207         35,819           20.'76yo               10,302      5.9'70/0


                  125.663                                                23,275       t8.52yo              700      23.975           t9.08%                  6,291      s.0t%
        VAP




 DATA SOURCE: 2010 US Census PL94-l7l Population Cou                                                                                                 2
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Plan Name: Senatel4                                 Plan Type   :   Senate                          User: Gina                            Administrator: State




                                                            o/o                                          BLACK         TOTAL                  %TOTAL                 HISP. OR
DISTRICT       POPULATION             DEVIATION DEVIATION                    BLACK           BLACK       COMBO         BLACK                   BLACK                  LATINO       %HISP


031             t74,298                     1,304           0.75o/"              23,616       13.55yo        I,798         25,414               t4.58y"                 10,762      6.17%

      VAP       124,828                                                          15,'199      12.66Vo            5lt       16,3   l0            13.07o/o                 6,220      4.98%


o32             174,271                     t,277           0.74%                14,8t7        8.5Qo/"       1,334         16,   l5   l          9.27Vo                  9,811      5.63%

      VAP       130,854                                                          10,791        8.250/0           542       1,333                 8.66%                   6,539      5.00%


033             t74,\4                      1,120           o 650/"              62,936       36.l5Vo       3,058          65,994               37.90o/o                33,57 |    t9.28%

      VAP       128,1t8                                                          43,422       33.73yo        1,379         44,80 I              34.&lYo                 20,775     16.14%


034             t73,063                        69           0.04%            108,169          62.50o/o      2,853      nt,022                   64.tsvo                 24,642     l4.24yo

      VAP       t23,516                                                          75,265       60.94Vo        1,375         76,640               62.05o/o                15,t46     12.26%


035             t73,728                       734           0.42yo           107,338          61.790/0      3,013      ll0.35l                  63.52%                  t3,774      7.93o/o


      VAP       122,650                                                          72,472       59.090/"       1,309         73,781               60.160/0                 8,2t3      6.70o/o



036             172,083                      -91I           -0.530h          103,348          60.060/"      2,338      105,686                  6lA2Vo                  t2,232      7.\%

      VAP       t37,631                                                          78,48 I      57.02o/o       t,630         80,1 I     I         s8.ztvo                  8,800      6.39%


037             t72,832                      -162           -0.09Yo              30,548       l7.67Vo        I,919         32,467               18.79o/o                t3,258      7.670/"


      VAP       t26,053                                                          20,606       16.35o/"           802       21,408               l6.98yo                  8,429      6.690/o



038             174,530                     1,536           0.89o/"          I 10,537         63.33Vo       2,421      |2,958                   64.72v"                 t7,4tl      9.98%

      VAP       129,186                                                          80,s56       62.36V"        t,289         81,845               63.35Vo                 10,835      839%


039             173,809                       815           0.47o/o          I 10,761         63.730/"      2,303      I   13,064               65.05Vo                  9,651      5.55%

      VAP       t39,465                                                          83,s62       59.92Y"        I,557         85,t I 9             6l.03Yo                  6,962      4.99%


040             t73,539                       545           0.32o/o              26,747       15.4lYo        t,154         28,50 I              t6.42v"                 36,80'.1   21.2t%

      VAP       133,946                                                          20,482       t5.29%         1,010         2t,492               16.05o/o                25,354     18.93o/o



041             t73,452                       458                                90,037       5t.91'v"      1 111          92,769               53.48yo                 23,281     t3.42%
                                                            0.26%

      VAP       127,577                                                          64,t36       50.27Vo        1,444         65,580               5l.40vo                 14,850     ll.640/o


042             172.447                      -547           -032Vo               42,913       24.88V"        t,779         44,692               25.92Vo                 24,229     14.0s%


      VAP       138,757                                                          33,570       24.l9Yo        1,094         34,664               24.98o/o                16,922     t2.20%


043             t72.105                      -889           -0.5lYo          I   05,035       6t.03v"       2,631      t07.666                  62.56%                  t2,251      't.t2%

      VAP       t23,t75                                                          7   t,792    58.28v"        t,2t3         73,005               59.Z1Vo                  7,46t      6.06%


044             t74,464                     t,470           o 850/"          t22,966          10.48Vo       2,187      t25,753                  '72.080h                14,561      8.35%

      VAP       t27,853                                                          87,966       68.80%         1,378         89,344               69.88Yo                  9,05 I    7.08%


045             t73,558                       564           033%                 24,226       t3.96%         1,927         26,t53               t5.0'7%                            t2.8t%

      VAP       t20.526                                                          t5,902       13.t9%             69t       t6,593               13.7'to/o               13,760     |.42%




DATASOURCE: 2010 US       Census PL94-171 Population Cou                                                                                                         3
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Plan Name: Senatel4                                                     Plan Type   :   Senate                            User: Gina                          Administrator: State




                                                                                                                o/-               DI LIV                          o/-TMLr.           HISD AP

DISTRICT            POPULATION                       DDVIATION DEVIATION                         BLACK         BLACK              COMBO          BLACK              BLACK                LATINO        '/'HISP


046                   t74,230                                  1,236            0.7lY6            30,244        t736Vo               1,313        3r,557             l8.ll%                   8,606     4.94%

                                                                                                  2t,u5         t6.o1yo                563        22,408             l6.49Vo                  5,613     4.t7%
        VAP           135,912


                                                                t,423                             25,803         14.7gVo             1,534        27,337             t5.6'.1%             16,455            9.43%
047                   174,417                                                   0.82o/o

                                                                                                  l8,l l7        l4.\ZYo               489        18,606             14390h                   9,911         1.67%
        VAP           t29,264


                                                               -1,754                             )5,398         14.837;             t,929        27,i27             15.95?,i,            21,232        t2.40%
048                   t7t,24t)                                                  -1.0r%

                                                                                                  t7,133         t3.95Vo               794        t7,927             14.59o/"             I   3,645     1   1.1   lol"
        VAP           t22,833


049                   177,8?7                                    82.9               0.4896        t2.,877         7.41%              1,0?0        t3,947              8.020/o             44,504       25.60%

                                                                                                      9,143       7.28o/"              322         9,465              7.54o/"             25,911       20.630/o
        VAP           t25,57 t


050                   t7t.792                                  -1,292           -O.69/o               9,219       5.37%               1,099       10,3   l8           6.01o/"             13,621            7.930/o


                                                                                                      6,960           5.3l%o           256         7,216              5.500/o                 7,940         6.06%
        VAP           13 1,1   l7

051                                                               599                                  1,411          0.8504           498         1,969                 l.l3o/o              7,454         4.29%
                      173,593                                                       0.35o/"

                      136,858                                                                          1,t28          g.82Yo               148     t,276              0.93%                   4,570         334%
            VAP


052                   172,494                                    -500           -O.29o/o              19,604      11.370/"            t,418       2t,0zz             17.l9o/o             18,234        10.51o/o


            VAP       t28,253                                                                         13,936      t0.87%                368       14,304             |.15%                10,849            8.46%


                                                                                                       7,102          4   l0o/"       t,09         I,193                 4.73o/o              3,905         2.26%
0s3                   l73,l5l                                     157               o.o90h                                                   t



                                                                                                       5,563          4.zlYo               239     5,802                 4.39o/o              2,345          t.78%
            VAP        t32,044


 054                                                              423                                  4,s20          2.6tYo            968        5,488                 3.16%0           38,990        22.48o/o
                       t73,417                                                      O.24o/o


                       12.5,i79                                                                        3,371          2,69%                250     3,627                 2.89o/"          22.39s        t'l.86%
            VAP


 055                   t74,196                                   t,202              0.69%         I   14,253      65.590/o            3,254       !t7,507            6   I 46"/o              11,564        6.640/o


                                                                                                      78,012      63.32/o              t,571      79,583             64.600/o                 6,951          5.64/,
            VAP        123,203


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 TotalPopulation: 9,687,653
 Ideal Value: 172,994

 Summary Statistics
 Population   Rmge:        171,240 to                174,530

                Rmge:
 Absolute Overall                            3.290

 Relative   Rmge:   -l-01%                   to      0.89%

 Relative Overall   Rmge:           l.90Yo




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 DATA SOURCE: 2010 US Census PL94-l7l Population Cou
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       User: State                                                                                  EXHIBIT
Plan Name: Congressl2
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Measures of Compactness Report
Friday, December L4, 20L8                                                                           4:26PM
Sum                      N/A
Min                      0.33
Max                      0.55
Mean                     0.45
Std. Dev.               0.07


       District        Reock

            001         0.39
            002         0.44
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       User: State                                                                                   EXHIBIT 124
Plan Name: Illus_lDwight
 Plan Type: Congress


Measures of Compactness Report
Friday, December     t4, 2Qt8                                                                        4:72PM
Sum                       N/A
Min                       0.26
Max                       0.54
Mean                      0.42
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       District         Reock


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       User: State
                                                                                                    EXHIBIT 128
Plan Name:    Illus-2Dwight
 Plan Type: Congress


Measures of Compactness Report
Tuesday, December 18, 2018                                                                          1158 AM
Sum                      N/A
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Max                      0.54
Mean                     0.44
Std. Dev.                0.07


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       User: State                                                                                EXHIBIT 13
Plan Name: Congressl2
 Plan Type: Congress


Measures of Compactness Report
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Sum                                          0.00        l.l/A
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Mean                                          N/A       0.26
Std. Dev                                      N/A       0.06


       District                           Perimeter   Polsby-
                                                      Popper

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       User: State                                                                              EXHIBIT 13A
Plan Name: Illus_lDwight
 Plan Type: Congress


Measures of Compactness Report
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Sum                                         0.00       N/A
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Mean                                        N/A       0.24
Std. Dev.                                   N/A       0.07


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                                                    Popper

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       User: State
Plan Name: Illus_2Dwight
 Plan Type: Congress


Measures of Compactness Report
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Sum                                       0.00        N/A
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Std. Dev.                                  N/A       0.06


       District                        Perimeter   Polsby-
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